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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS

 SVITLANA DOE, et al.,

                        Plaintiffs,

            v.                                     Civil Action No.: 1:25-cv-10495-IT
 KRISTI NOEM, in her official capacity as
 Secretary of Homeland Security, et al.,

                        Defendants.


                     PLAINTIFFS’ SECOND SUPPLEMENTAL MOTION
                          TO PROCEED UNDER PSEUDONYM

       Pursuant to Federal Rule of Civil Procedure 5.2(e), Plaintiffs Miguel Doe, Lucia Doe,

Daniel Doe, and Gabriela Doe (collectively, the “new Doe Plaintiffs”) respectfully move the Court

for a supplement to the March 3, 2025 and March 21, 2025 Orders (Doc. Nos. 8, 43) permitting

certain plaintiffs to proceed in this litigation using pseudonyms to protect their identities from

public disclosure.

       As with the prior orders, the new Doe Plaintiffs request that they be permitted to maintain

the confidentiality of their identities by using only pseudonyms and redacting other identifying

information in their filings, including all exhibits in which their names appear. The new Doe

Plaintiffs are willing to disclose their identities to the Court pursuant to the parties’ Stipulated

Protective Order Concerning Confidential Doe PII. See Doc. No. 54-1.

       As explained in the Memorandum of Law in Support of Plaintiffs’ Second Supplemental

Motion to Proceed Under Pseudonym, filed herewith, the new Doe Plaintiffs are beneficiaries and

a sponsor of dedicated parole processes established by the Biden administration for nationals of

Cuba, Haiti, Nicaragua, and Venezuela (the “CHNV” parole processes). As of March 25, 2025
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Defendants have terminated these parole processes and have called for the removal of parolees in

the United States under those parole processes after April 24, 2025—including those whose two-

year periods of parole have not yet expired. See Attachment B, Termination of Parole Processes

for Cubans, Haitians, Nicaraguans, and Venezuelans, 90 Fed. Reg. 13611, 13619 (Mar. 25, 2025).

          Accordingly, the new Doe Plaintiffs reasonably fear that compelled disclosure of their

identities could cause them or their family members unusually severe harm, including in the form

of apprehension and deportation from the country by Defendants, or violence, persecution, and/or

imprisonment in their home countries.

          The new Doe Plaintiffs therefore respectfully request that the court permit them to proceed

in this litigation under pseudonym.

          The new Doe Plaintiffs’ motion is based upon this Motion, the Memorandum of Law in

Support of Plaintiffs’ Second Supplemental Motion to Proceed Under Pseudonym filed herewith,

the supporting Declarations of Miguel Doe, Lucia Doe, Daniel Doe, and Gabriela Doe filed

herewith, the Second Amended Complaint, Doc. No. 59-1, such other evidence and argument as

may be submitted on this Motion, and such other matters of which the Court may take judicial

notice.

          WHEREFORE, Plaintiffs respectfully request that the Court grant this motion and enter

an Order:

   1. Granting the new Doe Plaintiffs leave to proceed in this matter under pseudonyms; and

   2. Requiring all parties to submit pleadings, briefing and evidence either (a) using the new

          Doe Plaintiffs' pseudonyms instead of their real names and other personally identifying

          information or (b) by redacting the new Doe Plaintiffs' names and other personally

          identifying information.




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  A proposed order is attached hereto.


Dated: March 27, 2025                              Respectfully submitted,

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                                                     Attorneys for Plaintiffs



                      CERTIFICATE UNDER LOCAL RULE 7.1(a)(2)

       The plaintiffs, through their counsel, conferred with the defendants’ counsel pursuant to

Local Rule 7.1(a)(2), and the defendants’ counsel stated that entry of the parties’ stipulated

protective order, Doc. No. 54-1, would likely resolve their concerns.

Dated: March 27, 2025

                                              /s/ John A. Freedman
                                              John A. Freedman




                                 CERTIFICATE OF SERVICE

I, John A. Freedman, hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF).


Dated: March 27, 2025

                                              /s/ John A. Freedman
                                              John A. Freedman




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